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Local AO 450 (rev. )




                                              United States District Court
                                                       District of North Dakota

   Cameron V. Smith

                               Plaintiff,
                                                                             JUDGMENT IN A CIVIL CASE
               vs.

   Essentia Health, Bell Bank, Sanford, and the Pallet                       Case No.       3:24-cv-227
   Co.,

                                Defendants.




              Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has rendered its
              verdict.

              Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a decision has
              been rendered.

              Decision on Motion. This action came before the Court on motion. The issues have been considered and a decision rendered.

              Stipulation. This action came before the court on motion of the parties. The issues have been resolved.

              Dismissal. This action was voluntarily dismissed by Plaintiff pursuant to Fed. R. Civ. P. 41(a)(1)(ii).

IT IS ORDERED AND ADJUDGED:
The Court ADOPTS the Report and Recommendation (Doc. 6) in its entirety. Smith's complaint (Doc. 5) is
DISMISSED WITHOUT PREJUDICE. Any appeal may not be taken in forma pauperis, as an appeal would be
frivolous and could not be taken in good faith.




      January 30, 2025
Date: __________________                                                      .$5,0.18'621, CLERK OF COURT
                                                                                 /s/ Bre Solberg Luedtke, Deputy Clerk
                                                                             by:________________________________
